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13                             UNITED STATES DISTRICT COURT
14                           NORTHERN DISTRICT OF CALIFORNIA
15
                                     SAN JOSE DIVISION
16

17   UNITED STATES OF AMERICA,             )   Case No. CR-18-00258-EJD
                                           )
18          Plaintiff,                     )   MS. HOLMES’ MOTION FOR A NEW TRIAL
                                           )   BASED ON NEWLY DISCOVERED EVIDENCE
19     v.
                                           )   REGARDING ADAM ROSENDORFF OR IN
20   ELIZABETH HOLMES and                  )   THE ALTERNATIVE AN EVIDENTIARY
     RAMESH “SUNNY” BALWANI,               )   HEARING
21                                         )
            Defendants.                    )   Date:     October 3, 2022
22                                         )   Time:     1:30 PM
                                           )   CTRM:     4, 5th Floor
23
                                           )
24                                         )   Hon. Edward J. Davila
                                           )
25

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28 MS. HOLMES’ MOTION FOR A NEW TRIAL BASED ON NEWLY DISCOVERED EVIDENCE
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 1                     MOTION FOR A NEW TRIAL OR IN THE ALTERNATIVE

 2                                     AN EVIDENTIARY HEARING

 3          PLEASE TAKE NOTICE that on October 3, 2022 at 1:30 pm or on such other date and time as

 4 the Court may order, in Courtroom 4 of the above-captioned Court, 280 South 1st Street, San Jose, CA

 5 95113, before the Honorable Edward J. Davila, Defendant Elizabeth Holmes will and hereby does

 6 respectfully move the Court for a new trial or, alternatively, an evidentiary hearing based on newly

 7 discovered evidence. Ms. Holmes makes this motion pursuant to Federal Rule of Criminal Procedure

 8 33. The Motion is based on the below Memorandum of Points and Authorities, the record in this case,

 9 and any other matters that the Court deems appropriate.

10

11 DATED: September 6, 2022

12

13                                                      /s/ Amy Mason Saharia
                                                        KEVIN DOWNEY
14                                                      LANCE WADE
                                                        AMY MASON SAHARIA
15                                                      KATHERINE TREFZ
                                                        Attorneys for Elizabeth Holmes
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 1                          MEMORANDUM OF POINTS AND AUTHORITIES

 2          On August 8, 2022, at 4:51pm PT, Dr. Adam Rosendorff left a voicemail for Ms. Holmes’

 3 counsel asking if he could set up a meeting between Ms. Holmes and Dr. Rosendorff. An hour and 15

 4 minutes later, without hearing back, Dr. Rosendorff appeared at Ms. Holmes’ residence. Ms. Holmes’

 5 partner, William Evans, answered the door. In the course of two short conversations described in more

 6 detail below, Dr. Rosendorff stated, among other things: (1) he tried to answer the questions honestly at

 7 Ms. Holmes’ trial, but the government tried to make everyone look bad; (2) the government made things

 8 seem worse than they were; (3) everyone at Theranos was working hard to do something good and

 9 meaningful; (4) he felt that he had done something wrong, apparently in connection with Ms. Holmes’

10 trial; (5) he wanted to talk to Ms. Holmes; (6) he thought a conversation with Ms. Holmes would be

11 healing for both of them; (7) both she and he were young at the time of the events; and (8) these

12 concerns were weighing on him to the point where he had difficulty sleeping.

13          As the Court knows, Dr. Rosendorff was an important witness; indeed, the government viewed

14 him as a star witness. The government mentioned him more than any other government witness in both

15 opening and closing statements, and Dr. Rosendorff testified longer than any other government witness.

16          Due to the ethical restrictions on lawyers’ communications with represented parties, Ms.

17 Holmes’ counsel are unable to return Dr. Rosendorff’s call to probe the precise meaning of his

18 statements. Under any interpretation of his statements, the statements warrant a new trial under Rule 33.

19 But, at a minimum, and to the extent the Court has any doubt about whether a new trial is required, the

20 Court should order an evidentiary hearing and permit Ms. Holmes to subpoena Dr. Rosendorff to testify

21 about his concerns.

22                                             BACKGROUND

23          A.     Dr. Rosendorff’s Trial Testimony

24          The Court is familiar with Dr. Rosendorff. He was Theranos’ laboratory director from April
25 2013 to November 2014. Holmes 9/24/21 Tr. 1702:19-1703:1. Even before Ms. Holmes’ trial

26 commenced, Dr. Rosendorff was a major focus of the government’s case. The government met with Dr.

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 1 Rosendorff at least eight times, and noticed him as an expert as early as March 2020. Holmes 9/28/21

 2 Tr. 1963:20-1967:16; Dkt. 580-3 at 7-8 (Gov’t 3/6/2020 Notice of Expert Disclosure).

 3          During trial, the government featured Dr. Rosendorff repeatedly in its opening statement as a

 4 witness who would testify as to issues related to technology, the state of the clinical laboratory, and

 5 intent. Holmes 9/8/21 Tr. 547-556. The government mentioned Dr. Rosendorff more than any other

 6 government witness during its opening statement.

 7          After deciding not to produce its retained hematology expert for a Daubert hearing, and lacking

 8 any statistically significant evidence concerning the accuracy and reliability of Theranos technology, the

 9 government was forced to rely heavily on Dr. Rosendorff’s testimony during Ms. Holmes’ trial. The

10 government’s examination of Dr. Rosendorff led to a host of misleading statements that Ms. Holmes’

11 counsel was forced to correct on cross-examination. See, e.g., Holmes 9/28/21 Tr. 1974:15-1975:25,

12 1977:9-25 (Dr. Rosendorff’s reasons for leaving the company); 2011:16-2014:16 (date and nature of

13 Theranos’ launch); 1981:25-1983:8 (Dr. Rosendorff confirming that the government failed to show him

14 any policy documents or validation reports); 2256:18-2257:22 (correcting the government’s implication

15 that proficiency testing was not performed); 2476:17-2477:7 (establishing that all of Dr. Rosendorff’s

16 concerns regarding proficiency testing were addressed). Indeed, Ms. Holmes counsel alerted the Court

17 that “the breadth of the [cross-]examination” was driven in part by “substantial concerns about what was

18 [elicited] in direct under Napue [v. Illinois]” and its progeny, which compelled Ms. Holmes to “clarify

19 the record.” Holmes 10/5/21 Tr. 2714:3-81 (citing Napue v. Illinois, 360 U.S. 264 (1959)).2 Due to the

20 misleading nature of the government’s presentation, throughout the cross-examination Ms. Holmes’

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             Ms. Holmes later informed the Court that the government’s questioning of Dr. Rosendorff also
24 improperly implied facts not in the record concerning the propriety of Theranos’ scientific data. Holmes
   10/15/21 Tr. 3838:4-3839:2.
25
           2
             In Napue, the Supreme Court held “that a conviction obtained through use of false evidence,
26 known to be such by representatives of the State, must fall under the Fourteenth Amendment.” 360 U.S.
   at 269. “[I]f it is established that the government knowingly permitted the introduction of false
27 testimony reversal is ‘virtually automatic.’” Hayes v. Brown, 399 F.3d 972, 978 (9th Cir. 2005).

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 1 counsel asked Dr. Rosendorff to confirm that he was being truthful in his testimony. See, e.g., Holmes

 2 9/28/21 Tr. 1973:8-1974:7.

 3          Significant issues also arose concerning Dr. Rosendorff’s bias. Holmes 10/5/21 Tr. 2548:22-

 4 2576:17, 2705:5-2720:25. Ms. Holmes informed the Court of the serious potential for Dr. Rosendorff to

 5 provide biased testimony in favor of the government due to the pending government investigations into

 6 the three positions that he held post-Theranos—Perkin Elmer, Invitae, and uBiome. Id. The post-

 7 employment issues concerned Dr. Rosendorff’s competence as a lab director, as well as his motivation

 8 to shift the blame for any Theranos issues to others including Ms. Holmes.

 9          The Court permitted limited questioning about Dr. Rosendorff’s employment at PerkinElmer on

10 the ground that it was relevant “to potential issue[s] of bias.” Holmes 10/5/21 Tr. 2709:14-2710:19,

11 2717:5-2720:25. The Court forbade questioning regarding “the nature of any investigation, the quality

12 of the investigation, [or] [Dr. Rosendorff’s] specific role in it.” Id. at 2710:11-22. The Court excluded

13 examination about Invitae as “inappropriate character evidence” under Rule 404(a)(1). Id. at 2709:5-13.

14 And it excluded examination about uBiome under Rule 403 because the Court understood that a federal

15 investigation into that lab “did not have anything to do with the operation of the lab per se.” Id. at

16 2708:2-2709:4. Soon after the Court’s ruling, the government opened the door by asking Dr. Rosendorff

17 to compare his experience at Theranos with his experience at other laboratories. Id. at 2866:8-23. Ms.

18 Holmes again requested to question Dr. Rosendorff about his post-employment issues as well as his

19 bias. See id. at 2867:15-2888:11. The Court declined and, recognizing that the government opened the

20 door to the issue, instructed the jury to disregard the government’s questions and Dr. Rosendorff’s

21 answer. Id. at 2889:23-2890:10.

22          The government featured Dr. Rosendorff repeatedly in its closing arguments, again mentioning

23 Dr. Rosendorff more than any other witness. See Holmes 12/16/21 and 12/17/22 Tr. (collectively

24 referencing Dr. Rosendorff over 50 times). Recently, in the government’s Opposition to Ms. Holmes’

25 Rule 29 motion, the government repeatedly emphasized Dr. Rosendorff’s interactions with Ms. Holmes.

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 1 Dkt. 1395 at 11. During the hearing on that motion, the government cited to Dr. Rosendorff’s testimony

 2 in support of its argument. 9/1/22 Hr’g Tr. 24:8-25:3.

 3          B.     Dr. Rosendorff’s Encounter at Ms. Holmes’ Home

 4          On August 8, 2022, at approximately 6:05pm, Dr. Rosendorff arrived at Ms. Holmes’ home.
 5 Declaration of William B. Evans (“Evans Decl.”) ¶ 1; see also Evans Decl., Ex. A. As Dr. Rosendorff

 6 approached the home, her partner, William Evans, noticed Dr. Rosendorff walking towards the front

 7 door and went to answer it. Evans Decl. ¶ 2. Mr. Evans did not immediately recognize Dr. Rosendorff,

 8 but did so after Dr. Rosendorff introduced himself. Id. ¶ 3. Dr. Rosendorff seemed to be in distress and

 9 his voice was trembling. Ex. A at 1. His cellphone was open to his camera, although it did not appear

10 that he was recording. Id. During this brief interaction outside the front door, Dr. Rosendorff repeatedly

11 stated that he needed to talk to Ms. Holmes. Id. Mr. Evans explained that Ms. Holmes could not talk to

12 anyone and that Dr. Rosendorff needed to leave. Id.

13          Dr. Rosendorff attempted to leave the property but was driving the wrong way. Id. Mr. Evans
14 approached Dr. Rosendorff in his vehicle at the top of the driveway in order to direct Dr. Rosendorff in

15 the right direction. Id. A second conversation then occurred at the top of the driveway, with Mr. Evans

16 outside the car at the window and Dr. Rosendorff in the driver’s seat. Evans Decl. ¶ 4 Dr. Rosendorff

17 explained that he wanted to speak to Ms. Holmes because it would be “healing for both himself and

18 Elizabeth to talk.” Ex. A at 1. He stated that “when he was called as a witness he tried to answer the

19 questions honestly but that the prosecutors tried to make everyone look bad” and that “the government

20 made things sound worse than they were when he was up on the stand during his testimony.” Id. Dr.

21 Rosendorff stated that “Theranos was early in his and [Ms. Holmes’] career,” that “everyone was just

22 doing the best they could,” and “everyone was working so hard to do something good and meaningful.”

23 Id. He stated that “he fe[lt] guilty” and that he “felt like he had done something wrong,” apparently in

24 connection with his testimony in Ms. Holmes’ case. Id. He stated that these issues were “weighing on

25 him” and that “he was having trouble sleeping.” Id.

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 1          Shortly before Dr. Rosendorff went to Ms. Holmes’ home, he left a voicemail for Ms. Holmes’

 2 counsel Lance Wade. Decl. of Lance A. Wade (“Wade Decl.”) ¶ 1 & Ex. 1. Mr. Wade received that

 3 voicemail at 7:51pm ET (4:51pm PT), and it lasted approximately thirty seconds. Wade Decl., Ex. 1. In

 4 the voicemail, Dr. Rosendorff identified himself and explained that he was calling because “he want[s]

 5 to try to visit Elizabeth at [her residence]; [he would] like to see her again” and that he thought “it would

 6 be quite healing for her and for [him].” Wade Decl. ¶ 5. Dr. Rosendorff asked if it was possible for Mr.

 7 Wade to arrange a visit between Dr. Rosendorff and Ms. Holmes at her residence. Id. Mr. Wade did not

 8 respond directly to Dr. Rosendorff given the ethical restrictions on communicating with represented

 9 parties. See Cal. R. Prof’l Conduct 4.2(a) (“a lawyer shall not communicate directly or indirectly about

10 the subject of the representation with a person the lawyer knows to be represented by another lawyer in

11 the matter, unless the lawyer has the consent of the other lawyer”). The next day, Mr. Wade instead

12 contacted the attorney who had appeared at Ms. Holmes’ trial with Dr. Rosendorff. Wade Decl., Ex. 2.

13 The attorney responded that there was no need for Mr. Wade to return the call. Id.

14                                             LEGAL STANDARD

15          Under Federal Rule of Criminal Procedure 33, “[u]pon a defendant’s motion, the court may

16 vacate any judgment and grant a new trial if the interest of justice so requires.” “A district court’s power

17 to grant a motion for a new trial is much broader than its power to grant a motion for judgment of

18 acquittal.” United States v. A. Lanoy Alston, D.M.D., P.C., 974 F.2d 1206, 1211 (9th Cir. 1992).

19 Ordinarily, a new trial should be ordered under Rule 33 on the basis of newly discovered evidence

20 where a defendant shows the following: (1) the evidence is newly discovered; (2) the defendant was

21 diligent in seeking the evidence; (3) the evidence is material to the issues at trial; (4) the evidence is not

22 merely cumulative or impeaching; and (5) the evidence indicates the defendant would probably be

23 acquitted in a new trial. See United States v. Harrington, 410 F.3d 598, 601 (9th Cir. 2005).

24          However, “when the motion implicates governmental misconduct,” a defendant is not required to

25 demonstrate that the newly discovered evidence would have probably resulted in an acquittal in a new

26 trial, but needs to show only that there was a reasonable probability that the result would have been

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 1 different if the evidence was available to the defense. United States v. Walgren, 885 F.2d 1417, 1427-28

 2 (9th Cir. 1989).

 3                                                 ARGUMENT

 4          Dr. Rosendorff’s statements reflecting his concerns with the government’s presentation of his

 5 trial testimony, along with his comments that bear on Ms. Holmes’ intent, put the integrity of the jury

 6 verdict against Ms. Holmes in grave doubt. The Court should grant a new trial or, at the very least,

 7 order an evidentiary hearing.

 8 I.       The Newly Discovered Evidence Warrants a New Trial

 9          Dr. Rosendorff’s statements satisfy each requirement for a new trial:
10          Newly Discovered. Dr. Rosendorff’s statements on August 8, 2022 occurred seven months after
11 the conclusion of Ms. Holmes’ trial. The information he revealed—including his belief that everyone at

12 Theranos was “working so hard to do something good and meaningful” and his concern about how the

13 government presented his testimony—is newly discovered evidence. United States v. Mendez, 619 F.

14 App’x 644, 646 (9th Cir. 2015) (reversing and remanding after district court erroneously denied Rule 33

15 motion and stating that police report was newly discovered when the defendant and his attorneys “did

16 not have access to [the evidence] prior to trial”); see also United States v. McKinney, 952 F.2d 333, 335

17 (9th Cir. 1991) (evidence is newly discovered under Rule 33 when discovered after the verdict was

18 received).

19          Diligence in Discovery. Similarly, Ms. Holmes’ lack of access to this evidence was not the
20 result of a failure to act with diligence. To the contrary, Ms. Holmes’ counsel tried to elicit this

21 evidence when asking Dr. Rosendorff at trial whether he testified truthfully. Holmes 9/28/21

22 Tr. 1973:8-1974:7. Despite this questioning, Dr. Rosendorff did not indicate while on the stand that “he

23 tried to answer questions honestly” but that the government “made things sound worse than they were

24 when he was up on the stand during his testimony.” Compare Evans Decl., Ex. A., with Holmes 9/28/21

25 Tr. 1973:8-1974:7. Because this information was not revealed to Ms. Holmes despite her efforts at trial

26 to probe what she viewed as the misleading nature of the government’s presentation, the due diligence

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 1 prong is satisfied. See United States v. Fulcher, 250 F.3d 244, 250 (4th Cir. 2001) (diligence prong is

 2 satisfied when “there is simply no indication from the record that a more probing cross-examination

 3 would have elicited any of the facts that came to light following the trial”); United States v. Walker, 546

 4 F. Supp. 805, 811 (D. Haw. 1982) (“Due diligence means ordinary, rather than extraordinary,

 5 diligence.”).

 6          Material to Issues at Trial. Dr. Rosendorff’s statements are material. To be sure, the exact

 7 meaning of Dr. Rosendorff’s statements is unclear. Potential meanings include the following:

 8          1. He “tried to answer the questions honestly,” Evans Decl., Ex. A at 1 (emphasis added), but

 9              his attempt to be honest was not always successful, meaning that he provided untruthful

10              testimony to the jury. This interpretation would explain why he said he “felt like he had done

11              something wrong.” Id.

12          2. He answered the government’s questions honestly, but nonetheless the resulting presentation

13              of evidence was misleading, raising potential concerns under Napue, discussed above. See,

14              e.g., United States v. Vozzella, 124 F.3d 389, 390 (2d Cir. 1997) (recognizing that Napue

15              applied to “the use of evidence that was in part false and otherwise so misleading as to

16              amount to falsity”).

17          3. He answered the government’s inculpatory questions honestly, but the government did not

18              ask him about exculpatory information he had provided to the government (that the

19              government did not disclose to the defense).

20          4. He answered the questions honestly, but the government’s cherry-picked questioning and

21              exhibits and his resulting testimony presented an incomplete picture to the jury and made

22              things seem “worse than they were”—for example, by failing to present to the jury a

23              complete, accurate picture of his time at Theranos, his many positive interactions with Ms.

24              Holmes, and his view that “everyone was just doing the best they could” and was “working

25              so hard to do something good and meaningful.” Evans Decl., Ex. A at 1.

26          Under any interpretation of Dr. Rosendorff’s statements, the statements are material to the case.

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 1 Even assuming he meant version 4, which is the most conservative interpretation of his statements, that

 2 statement would have fundamentally changed the jury’s perception of the case.

 3          For starters, testimony from a government star witness that the government cherry-picked

 4 evidence and/or testimony to make things seem worse than they were would have gravely damaged the

 5 reliability of the government’s investigation and presentation of evidence and bolstered Ms. Holmes’

 6 defense. Evidence undermining the reliability of the government’s investigation is necessarily material.

 7 See Kyles v. Whitley, 514 U.S. 419, 446 (1995) (evidence was material because it could have been used

 8 to attack the reliability of the government’s investigation); United States v. Howell, 231 F.3d 615, 625

 9 (9th Cir. 2000) (“[I]nformation which might ‘have raised opportunities to attack . . . the thoroughness

10 and even good faith of the investigation . . .’ constitutes exculpatory, material evidence.”). And this

11 testimony almost certainly would have diminished the weight the jury would have ascribed to Dr.

12 Rosendorff’s testimony, which the government used to support key elements of its case. See United

13 States v. Butler, 567 F.2d 885, 890–91 (9th Cir. 1978) (“Both by casting doubt on the prosecution case

14 and by increasing the scope of the closing defense arguments, disclosure of the exact nature of the

15 prosecution’s dealings with its key witness would certainly have affected the weight given his testimony

16 by the jury.”).

17          Ms. Holmes specifically argued to the jury that the government’s cherry-picked evidence

18 “obscured the full picture” and that the government was incorrectly viewing the evidence through a

19 “dirty lens.” See Holmes 12/16/21 Tr. 9031:19-9041:10. Notably, Ms. Holmes attempted to

20 demonstrate the government’s cherry-picking of evidence through Dr. Rosendorff’s cross-examination.

21 See Holmes 9/29/21 Tr. 2139:15-2146:22 (showing government did not introduce on direct examination

22 full email chain related to inspection of CLIA lab that showed transparency in dealing with inspectors);

23 Holmes 10/5/21 Tr. at 2651:5-2657:25 (showing government raised issues with bicarbonate assay on

24 direct examination, but did not introduce emails that showed the issue was investigated and addressed

25 within 24 hours). This argument was central to Ms. Holmes’ defense: it was the very first argument

26 that defense counsel made in closing argument. Dr. Rosendorff’s statements would have powerfully

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 1 corroborated this defense.

 2          Dr. Rosendorff’s statements also are material to Ms. Holmes’ alleged intent to defraud. To

 3 secure a conviction on the investor counts the government had to show, inter alia, that Ms. Holmes

 4 knowingly made material misrepresentations with intent to deceive. The government relied on Dr.

 5 Rosendorff in its closing argument when discussing the requisite knowledge and falsity elements of wire

 6 fraud. See, e.g., Holmes 12/16/21 Tr. 8975:6-10 (“Dr. Rosendorff said that in the middle of 2014 he had

 7 conversations with Ms. Holmes about QC control . . . again, more knowledge evidence.”). Dr.

 8 Rosendorff’s statements that “everyone at Theranos” was doing their “best” and “working so hard to do

 9 something good and meaningful” would have directly undermined the government’s intent arguments.

10 No doubt exists that Ms. Holmes would have featured these statements prominently in her closing.

11 Especially coming from a star government witness, these statements would have been material to intent.

12          Not Cumulative or Merely Impeaching. The evidence is not cumulative. “Evidence is

13 cumulative if repetitive, and if the small increment of probability it adds may not warrant the time spent

14 in introducing it.” 1 Weinstein’s Evidence ¶ 401[07] (1985). Dr. Rosendorff did not testify at trial that

15 the government’s questioning obscured an accurate depiction of his tenure at Theranos, despite Ms.

16 Holmes’ counsel’s repeated questioning about the government’s tactics.

17          Nor is this evidence merely impeaching. Dr. Rosendorff’s statement that everyone at Theranos

18 “was just doing the best they could” that “everyone was working so hard to do something good and

19 meaningful” is affirmative evidence of Ms. Holmes’ intent. Evans Decl., Ex. A. And his statement that

20 the government’s presentation was an attempt “to make everybody look bad” and that the government

21 “made things sound worse than they were” is affirmative evidence negating the quality of the

22 government’s investigation and trial presentation. Id.

23          Even if the evidence could be considered impeachment in part, that fact does not defeat the

24 motion. Although “[o]rdinarily, evidence impeaching a witness will not be material . . . [i]n some

25 situations, however, the newly-discovered impeachment evidence may be so powerful that, if it were to

26 be believed by the trier of fact, it could render the witness’s testimony totally incredible.” United States

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 1 v. Davis, 960 F.2d 820, 825 (9th Cir. 1992); see also United States v. Wallach, 935 F.2d 445, 458 (2d

 2 Cir. 1991) (concluding that new evidence impeaching the government’s central witness was sufficiently

 3 powerful to require a new trial); Balestreri v. United States, 224 F.2d 915, 917 (9th Cir. 1955) (“To deny

 4 in every case a motion for a new trial on the ground of newly discovered evidence for the sole reason

 5 that the evidence was ‘merely impeachment’ might often lead to injustice.”). Dr. Rosendorff was an

 6 important witness and his new statements materially undermine his testimony.

 7          Likelihood of Acquittal. The final element overlaps considerably with the materiality element

 8 discussed above. See United States v. Krasny, 607 F.2d 840, 845 n.3 (9th Cir. 1979) (citing favorably

 9 the reasoning that “two of the traditional prerequisites for prevailing on a motion for a new trial based

10 upon newly discovered evidence, i.e., that the newly discovered evidence be material and that it

11 probably would produce an acquittal on retrial, are really two means of measuring the same thing”).

12          As an initial matter, Dr. Rosendorff’s statements raise the possibility that the government may

13 have engaged in misconduct. Dr. Rosendorff’s statements to Mr. Evans are not sufficiently precise for

14 Ms. Holmes to accuse the government of misconduct at this time. But if misconduct occurred, Ms.

15 Holmes need not demonstrate that the evidence would probably lead to an acquittal. Walgren, 885 F.2d

16 at 1428. Rather, the applicable standard would be whether there is a reasonable probability that the

17 result would have been different if the evidence had been available at trial. Id. At a minimum, the

18 Court should order an evidentiary hearing to determine whether misconduct occurred.

19          Even under the more stringent standard, the last factor is met because the new evidence indicates

20 that “a new trial would probably result in acquittal.” Harrington, 410 F.3d at 601. For all the reasons

21 already stated, and even ascribing the most conservative meaning to Dr. Rosendorff’s statements, if the

22 jury had heard from Dr. Rosendorff that the government cherry-picked evidence to make things seem

23 worse than they were and that everyone was doing their best and working hard to do something good

24 and meaningful, the jury would have viewed this case very differently. Dr. Rosendorff’s statements

25 would have “significantly bolstered [Ms. Holmes’] defense and directly rebutted the government’s

26 primary response.” Mendez, 619 F. App’x at 646 (reversing denial of new trial motion after holding that

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 1 “[a] new trial, with the benefit of [newly discovered records], would probably result in acquittal”); see

 2 also Fulcher, 250 F.3d at 251, 255 (affirming district court findings that new evidence “would paint a

 3 ‘significantly more persuasive picture than the one presented to the jury at trial,”’ and would “certainly

 4 create a record more favorable for [the defendants]”); United States v. Hernandez-Rodriguez, 443 F.3d

 5 138, 146 (1st Cir. 2006) (reversing denial of new trial motion where “district judge failed to consider the

 6 full import of the defendant’s new evidence”). Even without this new testimony, this was a close case,

 7 as evidenced by the split verdict. Had Dr. Rosendorff provided these statements to the jury, Ms. Holmes

 8 probably would have been acquitted.

 9 II.      At a Minimum, the Court Should Order an Evidentiary Hearing

10          At a minimum, the Court should hold an evidentiary hearing both to determine the meaning of

11 Dr. Rosendorff’s statements and to determine whether any government misconduct occurred. As

12 discussed above, Ms. Holmes’ counsel are unable to return Dr. Rosendorff’s phone call to ascertain the

13 meaning of his statements. If the Court has any doubts about whether Dr. Rosendorff’s statements

14 warrant a new trial, an evidentiary hearing will provide the Court the facts necessary to decide the

15 motion.

16          An evidentiary hearing must be held on a motion for a new trial “[u]less the court is able to

17 determine without a hearing that the allegations are without credibility or that the allegations if true

18 would not warrant a new trial.” United States v. Navarro-Garcia, 926 F.2d 818, 822 (9th Cir. 1991). In

19 determining whether to grant a hearing, “the district court must be guided ‘by the content of the

20 allegations, including the seriousness of the alleged misconduct or bias, and the credibility of the

21 source.’” Id.

22          The “content of the allegations” here weighs in favor of a granting a hearing. Dr. Rosendorff’s

23 statements suggest that the government’s presentation of evidence may have misled the jury, whether

24 intentionally or not. His statements suggest that there is strong reason to doubt the credibility of a key

25 government witness. And his statements at least raise the possibility of government misconduct. As

26 already discussed, if government misconduct occurred, that would alter the applicable standard for

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 1 obtaining a new trial. Thus, to the extent the Court has any doubt that a new trial is required under the

 2 normal Rule 33 standard, at a minimum, it should conduct a hearing to determine whether misconduct

 3 occurred.

 4          Second, there is no reason to doubt the credibility of Dr. Rosendorff’s statements or that Mr.

 5 Evans has accurately conveyed those statements. Dr. Rosendorff’s recorded voicemail for Ms. Holmes’

 6 counsel is consistent with Mr. Evans’ account of his interactions with Dr. Rosendorff and Dr.

 7 Rosendorff’s statements. Compare Evans Decl., Ex. A at 1; with Wade Decl. ¶ 5. Nothing in the

 8 current record refutes Dr. Rosendorff’s recent statements. See Navarro-Garcia, 926 F.2d at 823 (“The

 9 district court made no finding that the affidavit lacked credibility. Moreover, there is nothing in the

10 record that would support such a conclusion.”).

11          The Court should hear directly from Dr. Rosendorff at an evidentiary hearing.

12                                               CONCLUSION

13          For the foregoing reasons, the Court should grant Ms. Holmes’ motion for a new trial or, at a

14 minimum, order an evidentiary hearing.

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16 DATED: September 6, 2022

17                                                        /s/ Amy Mason Saharia
                                                          KEVIN DOWNEY
18                                                        LANCE WADE
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 1                                     CERTIFICATE OF SERVICE

 2         I hereby certify that on September 6, 2022 a copy of this filing was delivered via ECF on all
 3 counsel of record.

 4

 5                                                      /s/ Amy Mason Saharia
                                                        AMY MASON SAHARIA
 6                                                      Attorney for Elizabeth Holmes
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